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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

LEONID TREYGER,
                                                                      ORDER
                        Plaintiff,                                23-CV-02099 (HG)

                v.

GIO WINE & SPIRITS CORP. and GBA 526
LLC,

                        Defendants.


HECTOR GONZALEZ, United States District Judge:

        Plaintiff, who uses a wheelchair, alleges that he is unable to access a liquor store operated

by Defendant Gio Wine & Spirits Corp., in space leased from Defendant GBA 526 LLC, because

the ramp leading to the liquor store is too steep. ECF No. 47 ¶¶ 10–16, 77–84. Plaintiff has

asserted claims under Title III of the Americans with Disabilities Act (the “ADA”), along with

analogous claims under the New York State and City Human Rights Laws. See ECF No. 47. At

the Court’s request, the parties have filed a joint letter raising various discovery disputes, and

Plaintiff has more recently filed a separate letter raising additional discovery disputes. ECF Nos.

48, 52. For the reasons set forth below, the Court grants in part Plaintiff’s request to compel Gio

Wine & Spirits Corp. to produce additional documents, and grants in part Defendant GBA 526

LLC’s request requiring Plaintiff to respond to its discovery requests.

        When seeking to compel discovery, “the party seeking the discovery must make a prima

facie showing that the discovery sought is more than merely a fishing expedition.” 6340 NB

LLC v. Capital One, N.A., No. 20-cv-2500, 2022 WL 4118521, at *2 (E.D.N.Y. Sept. 9, 2022). 1



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       Unless noted, case law quotations in this order accept all alterations and omit internal
quotation marks, citations, and footnotes.
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That means that the party moving to compel must demonstrate that its requested discovery is, “as

stated by Rule 26, proportional to the needs of the case, taking into consideration such aspects as

the importance of the issues, the amount in controversy, the parties’ resources and access to the

information sought, and the importance of the information sought to the asserted claims or

defenses.” Id. However, “[t]he party objecting to a discovery request must describe the burden

of responding to the request by submitting affidavits or offering evidence revealing the nature of

the burden.” Fritz v. LVNV Funding, LLC, 587 F. Supp. 3d 1, 4–5 (E.D.N.Y. 2022).

       One form of discrimination prohibited by Title III of the ADA is “a failure to remove

architectural barriers . . . where such removal is readily achievable.” 42 U.S.C. §

12182(b)(2)(A)(iv). The ADA further instructs that courts should consider a variety of factors

“[i]n determining whether an action is readily achievable,” including “the overall financial

resources of the facility or facilities involved in the action.” 42 U.S.C. § 12181(9)(B). To

address this inquiry, Plaintiff has requested that Defendant Gio Wine & Spirits Corp. provide

detailed financial information, including “tax returns, balance sheets, ledgers, registers, and

profit and loss statements” for every year since 2019, and documents that quantify the costs of

“improvements at the store” since 1991. ECF No. 48 at 1. Defendant has countered by offering

to provide Plaintiff with its 2022 tax return but has otherwise refused to produce additional

financial documents. ECF No. 52 at 2. Plaintiff, however, asserts that he needs, at minimum,

Defendant’s “financial ledgers and not just its year-end tax returns” because “Defendant is

operating a cash business.” Id. at 3.

       The Court concludes that Plaintiff is entitled to information about Defendant Gio Wine &

Spirits Corp.’s financial status, particularly since Defendant has asserted as an affirmative

defense that modifying the ramp to enter Defendant’s store “would impose an undue burden



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upon Defendant and would not be readily achievable or feasible.” ECF No. 51 ¶ 287. The Court

also agrees with Plaintiff that, due to the differences between tax accounting and financial

accounting, Defendant’s general ledger likely contains information about its income and

expenses that Defendant’s tax return would not contain. However, the period for which Plaintiff

is seeking financial information is far too long and includes financial information that is

irrelevant to the claims at issue in this case. Accordingly, the Court directs Defendant Gio Wine

& Spirits Corp. to produce tax returns and general ledgers for the years 2022 and 2021.

       If Defendant Gio Wine & Spirits Corp. attempts to introduce into evidence other financial

information that falls within the scope of Plaintiff’s requests but that Defendant has not

produced, in an attempt to show that a particular alteration to Defendant’s store was not “readily

achievable” under the ADA, the Court will likely decline to consider that evidence on summary

judgment and may preclude such evidence from being admitted at trial, in addition to any other

sanctions that may be warranted. See Fed. R. Civ. P. 37(b)(2)(A) (describing sanctions that

courts may impose for a party’s failure to comply with a discovery order). If Defendant provides

such information to an expert witness without producing it to Plaintiff, the Court will also

consider striking the portions of Defendant’s expert report that rely on that information and

precluding Defendant’s expert from offering testimony based on that information.

       Plaintiff also “seeks to obtain and examine all documents relied upon by Defendant Gio

to support Defendant Gio’s contention that the ADA violations at its store’s ramp cannot be

remediated by extending it in an L-shape and turn at the corner of the building” while

simultaneously stating that “Plaintiff is confident that these documents do not exist because

Defendant’s counsel . . . stated that Defendant never hired an architect, nor anyone else, to

examine the store’s ramp for any Title III ADA violations.” ECF No. 52 at 3. Defendant Gio



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Wine & Spirits Corp. shall either produce any documents related to this request or amend its

discovery responses to state that it has no such documents in its possession, custody, or control.

If Defendant retains a testifying expert to address this issue, then Defendant shall provide

Plaintiff with an expert report, and the other expert-related disclosures required by Rule 26,

during the expert discovery period.

       The parties’ letters indicate that Plaintiff has not pursued any meaningful discovery from

Defendant GBA 526 LLC. Fact discovery was scheduled to end in this case on October 5, 2023,

and expert discovery is scheduled to end on December 4, 2023. ECF No. 35. The Court’s

scheduling order further provided that the parties were to serve on each other interrogatories and

requests for the production of documents by July 21, 2023. Id. Defendant GBA 526 LLC was

able to serve those requests on Plaintiff by that deadline. ECF No. 48 at 4. Plaintiff, on the other

hand, asserts that he was unable to serve any such discovery requests on Defendant GBA 526

LLC until after Plaintiff had received Defendant’s answer, which was not due until after that

deadline, because Plaintiff needed Defendant’s answer to know which of Plaintiff’s factual

allegations Defendant would deny. Id. at 3. Apparently, Plaintiff has still not served any

discovery requests on Defendant GBA 526 LLC because Defendant’s counsel did not respond to

Plaintiff’s request to extend the deadline for Plaintiff to serve such requests. Id. In order to

facilitate the additional discovery that Plaintiff purportedly needs, Plaintiff requests that the

Court extend the fact discovery deadline until November 30, 2023. Id. at 4.

       Based on the parties’ discovery letters, the Court finds that good cause exists to extend

the deadline for expert discovery by two weeks until December 18, 2023. The Court also

extends the deadline for fact discovery until November 30, 2023, but the parties must conduct

fact discovery and expert discovery concurrently from this point forward. Plaintiff, and any



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other party that intends to serve additional discovery requests, must serve those requests by

November 6, 2023. The Court declines to extend the discovery deadline any further and will not

extend these deadlines again in the absence of unusual circumstances demonstrating good cause

because the parties’ discovery submissions strongly suggest that they deferred significant

discovery tasks until after their recently failed mediation, despite the Court’s multiple warnings

that the parties must “pursue settlement and conduct discovery simultaneously,” and that the

Court “w[ould] not consider delays in the parties’ efforts to mediate to be good cause to extend

the parties’ deadlines for fact and expert discovery.” ECF Order dated July 28, 2023; ECF Order

dated Sept. 7, 2023.

       The parties’ submissions assert that Defendant Gio Wine & Spirits Corp. failed to

respond adequately to numerous discovery requests from Plaintiff, apart from the requests

discussed above, and that Plaintiff has failed to respond to numerous requests from Defendant

GBA 526 LLC. See ECF No. 48. However, the parties have neither provided the Court with

copies of those discovery requests nor adequately described the requests at issue in a manner that

enables the Court to decide the parties’ discovery disputes. The parties shall continue to confer

regarding these disputes and shall file a joint letter that complies with Section IV.A of the

Court’s Individual Practices raising any further discovery disputes by November 28, 2023.

       Finally, Defendant GBA 526 LLC seeks to compel a deposition of Plaintiff that never

occurred. ECF No. 48 at 4. Plaintiff says that the parties never scheduled that deposition for a

variety of logistical and procedural reasons, including that Defendant GBA 526 LLC sent the

deposition notice by email without the parties having agreed to serve discovery requests by

email, purported to schedule a remote deposition without the parties having agreed to take

depositions remotely, and purported to schedule Plaintiff’s deposition for Labor Day. Id. at 2.



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None of these are acceptable reasons for not making Plaintiff available for a deposition, and the

Court hereby orders Plaintiff to appear for a deposition by Defendant GBA 526 LLC on or

before November 30, 2023. If the parties cannot agree on the method of taking Plaintiff’s

deposition, the Court will not hesitate to order Plaintiff to appear for the deposition remotely

pursuant to Rule 30(b)(4), which provides that “[t]he parties may stipulate—or the court may on

motion order—that a deposition be taken by telephone or other remote means.” Fed. R. Civ. P.

30(b)(4). The Court will not accept from Plaintiff or any other party any further hyper-technical

excuses for not moving forward expeditiously with the parties’ discovery obligations.

       SO ORDERED.

                                                      /s/ Hector Gonzalez
                                                      HECTOR GONZALEZ
                                                      United States District Judge
Dated: Brooklyn, New York
       October 31, 2023




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